                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE


 UNITED STATES OF AMERICA,                          )
                                                    )
                        Plaintiff,                  )
                                                    )
 v.                                                 )             No. 3:09-CR-79
                                                    )             (JORDAN/SHIRLEY)
 DANNY LEE MONDAY,                                  )
                                                    )
                        Defendant.                  )



                                 MEMORANDUM AND ORDER

                This case is before the Court on the Defendant’s Request to Review Appointment of

 Counsel [Doc. 103], filed on August 11, 2009, and referred to the undersigned on August 19, 2009

 [Doc. 118] pursuant to 28 U.S.C. § 636(b). The parties appeared before the undersigned on August

 25, 2009, for a hearing on the Defendant’s Request. Assistant United States Attorney David Lewen

 appeared on behalf of the government. Attorney Linda Mulligan Hoag, appointed counsel for the

 defendant, was present, as were the Defendant and Attorney Andy S. Roskind.

                The Defendant’s Request asks the Court to review the appointment of defense

 counsel and to appoint new counsel. At the August 25 hearing, Attorney Hoag explained that the

 Defendant expressed his desire to terminate her representation on August 10, 2009, and that she

 believed that the Defendant did not wish to communicate with her anymore after that date. Attorney

 Hoag stated that she believed that the Defendant had completely lost faith in her opinions about how

 to proceed with the case and her ability to represent him effectively. Attorney Hoag further stated

 that she believed that the Defendant’s loss of faith was predicated on his perception that she lacked

 sufficient experience to handle his case. Attorney Hoag acknowledged that she did have limited



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 experience as a defense attorney in federal court and she concluded that it was in the Defendant’s

 best interest that new counsel be substituted for her. The government objected to the Defendant’s

 Request for new counsel and noted that (1) Attorney Hoag was deemed by the Court to have

 sufficient experience to be appointed to this case originally; and (2) the Court should not appoint

 new counsel for a defendant based merely on the defendant’s whim.

                The Court asked the government to leave the courtroom and conducted a sealed, ex

 parte hearing to inquire into the reasons for the Defendant’s dissatisfaction with his representation

 by Attorney Hoag. The Court heard confidential and private statements from Attorney Hoag and

 the Defendant in order to determine whether good cause for the appointment of new counsel exists

 in this case. The rule in this Circuit is that a defendant seeking to substitute counsel “must show

 good cause such as a conflict of interest, a complete breakdown in communication or an

 irreconcilable conflict with his attorney in order to warrant substitution.” Wilson v. Mintzes, 761

 F.2d 275, 280 (6th Cir. 1985). Based upon the statements of Attorney Hoag and the Defendant in

 the ex parte hearing, the Court finds that the trust vital to the attorney-client relationship between

 Attorney Hoag and the Defendant is irreparably and irretrievably broken.

                After carefully considering the positions of the Defendant, defense counsel, and the

 government, the Court concludes that the Defendant’s Request is well-taken and that good cause

 exists to substitute new counsel for Attorney Hoag. The Defendant’s Request for new counsel [Doc.

 103] is GRANTED, and Attorney Hoag is relieved as counsel for the Defendant.

                The Court recognizes the need for the Defendant to be continuously represented by

 counsel. At the August 25, 2009 hearing, Attorney Andy S. Roskind agreed to undertake

 representation of the Defendant. The Court therefore and hereby substitutes and appoints Attorney



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 Roskind under the Criminal Justice Act (CJA) as counsel of record for the Defendant. The Court

 informed Attorney Roskind that the trial of this case was set for August 31, 2009. Attorney Roskind

 made an oral motion to continue the trial so that he could familiarize himself with the case and

 prepare for trial. The government had no objection to the motion, and the parties agreed to a new

 trial date of October 26, 2009.

                The Court finds, and the parties agree, that defense counsel’s oral motion to continue

 the trial is well taken and that the ends of justice served by granting a continuance outweigh the best

 interest of the Defendant and the public in a speedy trial. See 18 U.S.C. § 3161(h)(7)(A). At the

 time of the hearing, the trial of this case was set for August 31, 2009. Requiring the Defendant’s

 new counsel to proceed to trial without the reasonable time necessary to prepare would likely result

 in a miscarriage of justice. See 18 U.S.C. § 3161(h)(7)(B)(i), - (iv). Attorney Roskind needs time

 to meet with the Defendant, to review the discovery and the case file, and to prepare for trial. The

 Court finds that this could not take place before the August 31, 2009 trial date or in less than two

 months. Thus, without a continuance, defense counsel would not have the reasonable time necessary

 to prepare for trial despite his use of due diligence. See 18 U.S.C. § 3161(h)(7)(B)(iv).

                Accordingly, the Defendant’s oral motion to continue the trial is GRANTED, and

 the trial of this matter is reset to October 26, 2009, at 9:00 a.m. The Court finds that all of the time

 between the August 25, 2009 hearing and the new trial date of October 26, 2009, is fully excludable

 time under the Speedy Trial Act for the reasons set forth herein. See 18 U.S.C. § 3161(h)(1)(D),

 (h)(7)(A), (h)(7)(B)(i), and - (iv). With regard to other scheduling in the case, the plea negotiation

 deadline is set as October 7, 2009, as agreed by the parties.




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            Accordingly, it is ordered:

            (1) The Defendant’s Request to Review Appointment of Counsel
            [Doc. 103] is GRANTED;

            (2) Attorney Linda Mulligan Hoag is relieved as counsel for the
            Defendant and Attorney Andy S. Roskind is substituted as the
            Defendant’s counsel of record under the CJA;

            (3) The Defendant’s oral motion to continue the trial is GRANTED;

            (4) The trial of this matter is reset to commence on October 26,
            2009, at 9:00 a.m., before the Honorable Leon Jordan, United States
            District Judge;

            (5) All time between the August 25, 2009 hearing, and the new trial
            date of October 26, 2009, is fully excludable time under the Speedy
            Trial Act for the reasons set forth herein; and

            (6) The plea negotiation deadline in this case is set as October 7,
            2009.

            IT IS SO ORDERED.

                                                  ENTER:


                                                    s/ C. Clifford Shirley, Jr.
                                                  United States Magistrate Judge




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